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VAN−052 Order to Show Cause − Rev. 02/01/2017

                            UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF NORTH CAROLINA
                                                  Wilmington Division

IN RE:
Brandy Marie Gonzalez                                      CASE NO.: 19−00928−5−SWH
9033 Gardens Grove Rd.
Leland, NC 28451                                           DATE FILED: March 1, 2019

                                                           CHAPTER: 13




                                                ORDER TO SHOW CAUSE

IT IS ORDERED that Brandy Marie Gonzalez appear at the time and place indicated below to show cause,
if any there be, as to why this case should not be dismissed or other sanctions imposed for failure to file
the Certificate of Credit Counseling.

DATE:         Thursday, April 11, 2019
TIME:         10:00 AM
PLACE:        Room 208, 300 Fayetteville Street, Raleigh, NC 27602

DATED: March 18, 2019

                                                               Stephani W. Humrickhouse
                                                               United States Bankruptcy Judge
